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UNITED sTATEs DISTRICT comm 20 m ll 36
MIDDLE DISTRICT oF FLoRrDA v ,
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KATHLEEN FLANIGAN,
Plaintiff,
v. CASE No.: 10`.\<0- cv~ 1195 -OQL~ I%~‘rras
BLUESTEM BRANDS, INC. d/b/a DEMAND FoR TRIAL BY JURY
FINGERHUT,
Defendant.
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Plaintiff, Kathleen Flanigan (hereinafter “Plaintiff”), by and through the
undersigned counsel, and sues Defendant, Bluestem Brands, Inc. d/b/a Fingerhut
(hereinafter “Defendant”), and in support thereof respectfully alleges violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida
Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

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l. Plaintiff alleges violation(s) of the Federal Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

2. The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and prevent abusive “robo-calls.”

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3. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
scourge of modern civilization, they wake us up in the morning; they interrupt our dinner
at night; they force the sick and elderly out of bed; they bound us until we want to rip the
telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the autodialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

5. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are
thousands of complaints to the FCC every month on both telemarketing and robocalls.
The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler
Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to
Wireless Phones, Federal Communications Commission, (May 27, 2015),
https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al.pdf.

6. Likewise, the FCCPA is designed and adopted to reinforce individual
consumers’ rights established by federal law.

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7. This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, attorney fees and costs.

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8. Jurisdiction and venue for purposes of this action, are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

9. Subject matter jurisdiction and federal question jurisdiction, for purposes
of this action, are appropriate and conferred by 28 U.S.C. § 1331, Which provides that the
District Courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and, this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mz'rns v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (20]2)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (] ] th Cir. 2014).

10. Venue is proper in this District as Plaintiff was a resident in this District,
the violations described in this Complaint occurred in this District, and, Defendant
transacts business within this District.

FACTUAL ALLEGATIONS

11. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Brevard County, Florida.

12. Plaintiff is a “consumer” as defined in Fla. Stat. § 559.55(8).

13. Defendant is a person collecting an alleged obligation which arises out of
personal, family or household transactions

14. The alleged debt that is the subject matter of this Complaint is a
“consumer debt” as defined by Florida Statute § 559.55(6), as it arises from personal,

family or household transactions

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15. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (l lth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th
Cir. 2014).

16. Defendant is a corporation responsible for attempting to collect an alleged
consumer debt from Plaintiff.

17. Defendant is a corporation With its principal place of business located at
7075 F lying Cloud Dr., Eden Prairie, MN 55344, and which conducts business within the
State of Florida.

18. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number at issue, (321) XXX-8737 (hereinafter “cellular telephone”); and was the called
party and recipient of Defendant’s hereafter described calls.

19. Defendant intentionally, knowingly and/or willfully harassed and abused
Plaintiff on numerous occasions by calling Plaintiff’s cellular telephone, beginning in or
about February 2015 through April 2016, with such frequency as can reasonably be
expected to harass and in an effort to collect an alleged consumer debt.

20. Defendant’s calls to Plaintiff continued, on average, three times per day.

21. Upon information and belief, some or all of the calls Defendant placed to
Plaintiff’ s cellular telephone were placed using an “automatic telephone dialing system”
(hereinafter “Autodialer”), which has the capacity to store or produce telephone numbers
to be called, using a random or sequential number generator (including but not limited to
a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as

specified by 47 U.S.C § 227(a)(l) (hereinafter “autodialer calls”).

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22. Furthermore, each of the calls at issue were placed by Defendant using an
artificial or prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

23. Beginning in or about February 2015, Defendant began bombarding
Plaintifi`s cellular telephone in an attempt to collect an alleged consumer debt.

24. Upon receipt of the calls, Plaintiff’s caller identification feature identified
the calls were being initiated from, but not limited to, the telephone numbers 888-205-
1831 and 469-293-4977.

25. Upon Plaintiff’s receipt of one such ca11 from Defendant, in or about
March 2015, Plaintiff answered the call, received Defendant’s artificial or prerecorded
message, held on the line to be connected to a live agent/representative and informed said
agent/representative to immediately cease all calls to her cellular telephone; furthermore,
Plaintiff informed Defendant’s aforementioned agent/representative that its incessant
calls were harassing her and demanded Defendant immediately cease all calls to her
cellular telephone; thereby, unequivocally revoking any previously perceived expressed
consent to be called using Defendant’s Autodialer, predictive dialer, artificial voice or
prerecorded message

26. During the aforementioned phone conversation with Defendant’s
agent/representative, Plaintiff explicitly revoked any previously perceived expressed
consent Defendant may have believed it had for placement of telephone calls to
Plaintiff’s cellular telephone by the use of an Autodialer or artificial voice or prerecorded

message

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27. Each subsequent call Defendant placed to Plaintift’s cellular telephone
number was done so after Plaintiff explicitly revoked consent and Without her express
consent

28. Each subsequent call Defendant placed to Plaintiff’s cellular telephone
number Was knowingly and willfully placed to her cellular phone without express
consent.

29. Each of the Plaintiff"s requests for the harassment to end went ignored.

30. Defendant called Plaintiff on her cellular telephone in excess of one
thousand (1000) times since March 2015 in attempt to collect an alleged consumer debt.

31. Due to the extreme volume of calls Plaintiff received, Plaintiff was unable
to maintain a fully contemporaneous call log of each and every call she received from
Defendant; however, the following is a sample of calls Plaintiff answered from February
2016 to March 2016:

i. Three calls on February 23, 2016 at 12:23 p.m., 12:24 p.m., and 12:26

p.m.;

ii. Six calls on February 24, 2016 at 11:16 a.m., 11:26 a.m., 11:35 a.m.,
1132 p.m., 2:45 p.m., and 4:45 p.m.;

iii. One call on February 29, 2016 at 4:50 p.m.;

iv. One call on March 4, 2016 at 10:11 a.m.;

v. One ca11 on March 7, 2016 at 9:49 a.m.;

vi. One call on March 21, 2016 at 12:19 p.m.;

vii. One call on March 22, 2016 at 5:39 p.m.;

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viii. Two calls on March 24, 2016 at 1:43 p.m. and 2143 p.m.;
ix. One call on March 28, 2016 at 2142 p.m.;
x. Three calls on March 29, 2916 at 11:43 a.m., 11:44 a.m., and 11:45
a.m.;
xi. Three calls on March 30, 2016 at 12:57 p.m., 12:58 p.m., and 12:59
p.m.; and
xii. Three calls on March 31, 2016 at 3:45 p.m., 3:46 p.m., and 3:47 p.m.

32. Defendant has, or should be in possession and/or control of, call logs,
account notes, Autodialer reports and/or other records that detail the exact number of
calls it placed to Plaintiff.

33. Despite actual knowledge of its wrongdoing, Defendant continued its
campaign of abuse by continuing to call Plaintiff despite not having Plaintiff’s express
consent to call her cellular telephone.

34. Defendant has corporate policies and/or procedures to use an Autodialer or
artificial voice or prerecorded message, and to place autodialed calls, just as it did to
Plaintiffs cellular telephone in this case, with no way for the called party and recipient of
the calls, including Defendant, to permit, elect, or invoke the removal of Plaintiff’s
cellular number from Defendant’s call list.

35. The structure of Defendant’s corporate policies and procedures permits the
continuation of calls to individuals like Plaintiff, despite these individuals revoking any

consent, or perceived consent, Defendant may have believed it had to place such calls,

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36. Defendant’s corporate policies and procedures provided no means for
Plaintiff to have her cellular number removed from Defendant’s call list; or, otherwise
invoke and/or request the cessation and/or suppression of calls to Plaintiff from
Defendant.

37. Defendant has corporate policies or procedures of using an Autodialer or
an artificial voice or prerecorded message to collect alleged debts from individuals, such
as Plaintiff, for its financial benefit.

38. Plaintiff expressly revoked consent to Defendant’s placement of telephone
calls to Plaintiff" s cellular telephone number by the use of an Autodialer or an artificial
voice or prerecorded message immediately upon Defendant’s placement of the calls.

39. Defendant knowingly employs methods and/or has corporate policies
and/or procedures designed to harass and abuse individuals such as Plaintiff

40. Defendant knowingly employs methods that do not permit the cessation or
suppression of autodialed calls to Plaintiff’s cellular telephone.

41. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called,

42. None of Defendant’s telephone calls placed to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

43. As a result of aforementioned tenacious collection efforts, Plaintiff was
affected, both personally and individually, as she experienced an invasion of privacy,
stress, anxiety, nervousness, hypertension, instability, worry, humiliation, intimidation,

indignation, panic attacks, pain and suffering, and, emotional and mental distress.

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Additionally, Plaintiff suffered from loss of` happiness, concentration, sleep, privacy,
appetite, nausea, vomiting, sensitive stomach, crying, nightmares, headaches, nightmares,
muscle spasms, dizziness, and black outs. Furthermore, Plaintiff was placed on special
medication, aggravated an existing illness, and, strain was placed on her familial
relationships All of the abovementioned were caused by, and/or directly related to,
Defendant’s attempts to collect a consumer debt allegedly owed by Plaintiff.

COUNT I
(Violation of the TCPA)

44. Plaintiff incorporates and realleges paragraphs one (1) through forty-three
(43) as if fully set forth herein.

45. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the Autodialer calls it made to Plaintiff’ s cellular telephone after Plaintiff
notified and requested Defendant that she Wished for the calls to immediately cease.

46. Defendant repeatedly placed non-emergency telephone calls to Plaintiff s
cellular telephone using an Autodialer or artificial voice or prerecorded voice message
without Plaintiff"s prior express consent and in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for Statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other

such relief the Court may deem just and proper.

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COUNT II
(Violation of the FCCPA)

47. Plaintiff re-alleges and fully incorporates Paragraphs one (l) through
forty-three (43) above as if fully stated herein.

48. At all times relevant to this action, Defendant is subject to and must abide
by the law of the State of Florida, including, without limitation, Fla. Stat. § 559.72.

49. Defendant violated Fla. Stat. §559.72(7) by willfully communicating and
engaging in conduct with such frequency as can reasonably be expected to harass the
debtor.

50. Defendant’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Fla. Stat. § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of` these parts and
any other such relief the Court may deem just and proper.

Respectfully submitted,

We, Esquire

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